           Case 2:20-cv-02946-JDW Document 3 Filed 07/02/20 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 LISA BARBOUNIS,                                            Case No. 2:19-cv-05030-JDW

                 Plaintiff
         v.

 THE MIDDLE EAST FORUM, et al.,

                 Defendants.


   LISA BARBOUNIS,                                          Case No. 2:20-cv-02946-JDW

                   Plaintiff
           v.

   THE MIDDLE EAST FORUM, et al.,

                   Defendants.


                                                   ORDER

        AND NOW, this 2nd day of July, 2020, in light of the substantial overlap of factual and legal issues

in the two above-captioned matters, and following a telephonic conference with the Parties and review of

the complaints in both actions, it is ORDERED that these two matters are CONSOLIDATED under the

lead case, Barbounis v. Middle East Forum, et al., Case No. 2:19-cv-05030-JDW.

                                                         BY THE COURT:


                                                         /s/ Joshua D. Wolson
                                                         JOSHUA D. WOLSON, J.
